                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                          Case Number: 4:20−cr−00641

Abdulrahman Mohammed Hafedh
Alqaysi




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Alfred H Bennett
PLACE:
Courtroom 9A
United States District Court
515 Rusk Avenue
Houston, Texas 77002
DATE: 4/2/2024
TIME: 11:30 AM

TYPE OF PROCEEDING: Motion Hearing
Sealed Event − #113


Date: March 18, 2024
                                                       Nathan Ochsner, Clerk
